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UNlTED STATES DlSTRlCT COURT
MIDDLE DlSTRlCT OF FLORIDA

October 24, 2008

Dear Counsel:

Enclosed with this letter is a communication from the Clcrk of this Court affording you the opponunity, with the
approval of the U.S. District Judge, to consent to the reference of any part or all of the proceedings in this case to
a U.S. Magistrate Judge, including reference for final disposition.

Careful consideration should be given to this option.

To assist thc federal courts in coping with dramatically increased caseloads. Congress authorized the reference to
a U.S. Magistrate Judge of any part or all of the proceedings in a civil case, both jury and non-jury, upon consent
of ali parties (28 U.S.C. § 636[¢1). All of the U.S. District Judges in this District refer cases under this provision
to our able and experienced U.S. Magistrate Judges who are almost always able to schedule early and firm trial dates,
in accordance with the needs of the parties.

Whether to consent to a reference to a U.S. Magistrate Judge is entirely up to you and your client. This case has not
been specifically selected for this program; the Clerk sends out this notice in every civil case. lf a party declines to
consent to a reference, that fact is known only to the Clerlc and not to any of the Disu'ict or Magistrate Judges.

This program has proved to be of` great benefit to counsel, client, and the Court.

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‘ etl_i__A*. Kovace '_ Hon:'._larnes S. Moody, Jr. ' l
Hon. Steven D. Merryday ` Hon. egory A@;iell

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Hon. Virélnia M. Hernandez Co“ln'gton y

 

 

   

Case 3:12-CV-OO449-W.]C-TEI\/| Document 5-2 Filed 04/25/12 Page 2 of 2 Page|D 31

A() 85 (Rev. UltUQ] Notice, Consent. and Reference of a Civil Action to a lvlagistrnlc ludge

 

UNITED STATES DlSTRlCT COURT
for the

Middle District of FIorida

Piaaa,@;` ' _

v. Civil Action No.

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Defendont

NOTICE, CONSENT, AN]) REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

Nc!ice cfa magistrate judges availability A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

You may Consent to have your case referred to a magistrate judgc, or you may vvithhold your consent without adverse
substantive consequences The name of any party withholding consent will not be revealed to anyjudge who may otherwise
be involved with your case.

Con.reitt to a magistrate judge ’s authority 'I`he following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings

Parties ’ printed names Signarw'es of parties or attorneys Dates

Rcference Orl:ler

IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry ofa final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:

Disrrict Jiidge 's signature

Prfnted name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of j urisdiction by a United States
magistrate judge. Do not return this form to ajudge,

